                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                    (Alexandria Division)

ROBERT WILLIAMS,                                       )
                                                       )
          Plaintiff,                                   )
                                                       )
v.                                                     ) Case No.: 1:15-cv-01255-GBL-TCB
                                                       )
RICOH AMERICAS CORP.,                                  )
                                                       )
          Defendant.                                   )

                           PLAINTIFF’S OPPOSITION TO
                   DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

          Plaintiff Robert Williams, by and through counsel, hereby files this Response in

Opposition to Defendant’s Motion for Summary Judgment (Dkt. No. 36) filed with this Court on

June 10, 2016. Despite Defendant’s assertions to the contrary, this matter reveals how an

employee’s exercise of his right to complain about discrimination of the basis of his race led to

his subsequent termination. As such, genuine disputes of material facts exist as to the allegations

in Plaintiff’s Amended Complaint (Dkt. No. 3), and so Defendant Ricoh USA, Inc.’s (Ricoh’s)

Motion should be denied and the Court should allow this case proceed to a jury trial.1

     I.      Factual Background

          Plaintiff Robert Williams is a 58 year old African American male, who started working

for Ricoh in 2000. Williams worked for Ricoh as a Commercial Account Manager from 2000 to

2004, and as a Federal Accounts Manager from 2004 to his termination on January 15, 2015.

Williams worked at Ricoh’s Greenbelt, Maryland facility from 2000 to 2014, and at Ricoh’s
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 Plaintiff’s Amended Complaint (Dkt. No. 3) sets forth four causes of action - discrimination
(Count I) and retaliation (Count II) under Title VII of the Civil Rights Act of 1964, 42 U.S.C. §
2000e, et seq. (“Title VII”), and discrimination (Count III) and retaliation (Count IV) under the
Age Discrimination in Employment Act, 29 U.S.C. § 623(d) (“ADEA”). Defendant moved for
summary judgment on all four counts, and Plaintiff concedes that summary judgment is due to be
granted on Counts III and IV (asserting discrimination and retaliation under the ADEA).
                                                  1
Alexandria, Virginia office from 2014 to his termination on January 15, 2015. Ex. 1, Glancey,

Dep. Tr. 84:15-17; 102:13-15. Thomas Glancey, a Caucasian male, became Williams’s

supervisor on June 1, 2012. Ex. 1, Glancey, Dep. Tr. 22:20-22. Glancey was and is employed

by Ricoh as a Region Sales Manager, and supervised approximately nine employees, including

Williams. Ex. 1, Glancey, Dep. Tr. 25:2-4.

       Glancey developed the opinion that Williams would be a “problematic employee” while

Glancey was still in the process of being hired as a Region Sales Manager. Glancey testified,

however, that he never saw any documentation evidencing or otherwise corroborating his

opinion that Williams was a problematic employee. Ex. 1, Glancey, Dep. Tr. 39:3 – 40:22.

After becoming Williams’s Manager, Glancey began to treat Williams unfairly as compared to

other non-African American employees. Ex. 2, Williams, Dep. Tr. 165:13 – 166:24. Kelly

Wynn, an African American employee, also testified that he was told by some of Williams’s co-

workers that Glancey had a slave master mentality. Ex. 3, Wynn, Dep. Tr. 38:19 – 39:6. Wynn

said that Glancey’s “slave master mentality” was “well-noted dialogue that was had amongst

peers,” and that Randall Smith, a Ricoh employee named “Clarence” [presumably Terrance

Deanes], and another Ricoh employee also said that Glancey had a slave master mentality with

respect to African American employees. Ex. 3, Wynn, Dep. Tr. 39:17 – 21; 41:6 - 19.

       Duane Graves, another African American colleague of Williams, testified that “Glancey

was looking for reasons to get rid of the black sales employees under him,” and that when

Glancey terminated an African American employee, Glancey always filled the position with a

Caucasian employee. Ex. 4, Graves, Dep. Tr. 81:2 – 7; 12-15. Similarly, another African

American colleague of Williams, Alexander Johnson, testified that Glancey was pressuring

Johnson to leave Ricoh so that Glancey could give Johnson’s job to a Caucasian female



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[Kathleen Evans] who had no prior experience in the industry. Ex. 5, Johnson, Dep. Tr. 69:13 –

71:12. Likewise, Johnson testified that Glancey issued warnings to African American employees

who missed meetings, but did not do the same for Lance Helmick and Dan Logan, Caucasian

employees who also missed meetings. Ex. 5 Johnson, Dep. Tr. 72:10 – 18; 119:11 – 120:13.

Johnson also testified that “Williams spoke up about Glancey’s unfair treatment, as the rest of his

colleagues were afraid to report it.” Ex. 5, Johnson, Dep. Tr. 106:5 – 17. Johnson identified the

colleagues who were afraid to report Glancey’s unfair treatment as Randall Smith, Mark Evans,

and a man named Kevin, all of whom were African American. Ex. 5, Johnson, Dep. Tr. 107:9 –

108:4. Johnson also testified that in his opinion, Glancey was prejudiced against minorities,

including African Americans. Ex. 5, Johnson, Dep. Tr. 117:2 – 20.

       On June 14, 2013, Williams engaged in protected activity when he emailed Glancey in

order to both oppose what Williams reasonably believed to be discriminatory actions taken by

Glancey against Williams on the basis of Williams’s race, as well as to request a meeting with

Ricoh’s Human Resources department to address Williams’s complaint. Williams emailed

Glancey, stating:

               Tom, I will request a meeting with Human Resources ASAP. I cannot continue to
               be badgered and belittled by you. I already now (sic) how to do a professional
               job. You hurt our chances with FERC by referring them to Mr. Manley. I am not
               going to allow you to treat me with a “Master” mentality. I am not your slave. I
               am a professional sales person and I expect to be tretaed (sic) as such.

Ex. 6, Ricoh_RW_000044-45.

       At 10:21 a.m. on June 14, 2013, Glancey forwarded Williams’s email to Courtnie

Wilford, Director of U.S. Workforce Planning, and Joseph Campanella, Vice-President, Federal,

at Ricoh. Id. In his email, Glancey stated “Obvious major concerns with his general

cooperation, demeanor, and accusations.” Id. On Saturday, June 15, 2013, Glancey forwarded



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Williams’s email to Megan Coggins, Senior HR Generalist at Ricoh. Id. In his email to

Coggins, Glancey stated “Aside from Robert’s insubordination, his use of slavery in comparison

is horribly & disturbingly offensive. I’m sure we will talk Monday.” Id. On Saturday, June 15,

2013 at 9:07 p.m., Coggins responded to Glancey’s email stating “Hi Tom, I’m in training on

Monday morning but I’ll connect with you in the afternoon.” Id. On Sunday, June 16, 2013 at

1:09 a.m., Coggins forwarded her and Glancey’s email exchange regarding Williams’s request

for a meeting to discuss Glancey’s treatment of Williams to Wilford, stating “Not good…I’m in

training on Monday morning but I can connect with you & Tom in the afternoon.” Id.

       Ricoh has a clear EEO policy requiring HR to investigate all claims of discrimination.

Ex. 7, Coggins, Dep. Tr. 27:5 – 29:8. During her deposition, Coggins testified that “if something

like [Williams’s complaint] was brought to HR’s attention, typically we would investigate

something like this. Ex. 7, Coggins, Dep. Tr. 38:18 – 39:15. Williams spoke with Coggins and

Wilford on the phone to discuss the email further. During the phone call with Wilford to discuss

the allegations contained in the June 14, 2013 email, Wilford asked Williams why he said

Glancey had a master-slave mentality, and Williams replied “Because I think [Glancey] is racist.

Yes.” Ex. 2, Williams, Dep. Tr. 176:6 – 13.

       Despite Ricoh having a clear EEO policy that requires that HR investigate all complaints

of discrimination in the workplace, neither Coggins nor Wilford investigated Williams’s

complaint. Coggins testified that although she was required to investigate all complaints of

discrimination, she can’t remember whether she investigated Williams’s complaint of

discrimination or not. Wilford claims that despite talking to Williams on the phone, she did not

ask Williams if he was making a complaint of discrimination. Ex. 7, Coggins, Dep. Tr. 27:5 –

29:8; Ex. 8, Wilford, Dep. Tr. 38:13-15.



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         On June 17, 2013, Wilford sent Glancey a “Counseling Document Template” for Glancey

to fill out prior to issuing Williams a written performance warning. Ex. 9, Ricoh_RW_000049-

50. On June 18, 2013, Wilford sent Glancey edits to Glancey’s draft written warning, changing

Glancey’s mention of Williams’s “medical situations” to “personal issues.” Id. On June 20,

2013, Glancey issued Williams a written “Employee Counseling Report,” expressly

reprimanding and disciplining Williams for, inter alia, accusing Glancey of having a “master

mentality…treating employee like a slave,” and categorizing Williams’s email as a “Behavior/

Conduct” issue for which Williams was reprimanded. Ex. 10, Ricoh_RW_000060-61.

         Glancey testified during his deposition that he was offended by (and, in fact, was still

offended by) Williams’s accusing Glancey of having a “master mentality…treating employee

like a slave,” and so he issued Williams the June 20, 2013 Employee Counseling Report that was

Williams’s first written warning he had received in his thirteen (13) years of employment at

Ricoh:

                105:8     Q Were you offended when Mr. Williams said,
                 9 “I’m not going to treat you with a ‘master’ -- allow
                10 you to treat me with a ‘master mentality’”?
                11     A It’s an offensive statement. I was
                12 offended. Yes.
                13     Q And when he said, “I am not your slave,” did
                14 you find that offensive?
                15     A I did. And I still do.
                16     Q And does it make you think less of him?
                17     A It doesn’t necessarily make me think less of
                18 him. It’s just that it’s a horribly offensive
                19 comparison to draw to anyone.
                20     Q Is it something you thought he should be
                21 disciplined for?
                22     A I did. Yes.
                106:1     Q And is it one of the reasons that you sought
                 2 discipline for him?
                 3    A I sought discipline for a number of issues
                 4 related to these e-mails, and that would be one of
                 5 them. Yes.

                                                  5
Ex. 1, Glancey, Dep. Tr. 105:8 – 106:5.

       Moreover, Williams’ email was the basis for issuing the discipline:

               112:1      Q Is Exhibit 10 the e-mail chain that’s set
                2 forth there, the straw that broke the camel’s back and
                3 caused you to issue the discipline marked as Exhibit
                4 11?
                5        MS. CONNOLLY: Asked and answered. You can
                6 answer.
                7 BY MR. WOODFIELD:
                8    Q You can go ahead and answer.
                9        THE WITNESS: It’s fair – it’s fair to say.
               10 Yes.

Ex. 1, Glancey, Dep. Tr. 112:1 to 112:10.

       Megan Coggins, the Ricoh’s HR generalist who worked with Glancey to produce this

discipline could not explain aware of any reason or rationale why Mr. Williams e-mail set was an

appropriate basis for the discipline meted out to Williams:

               48:16      Q As we sit here today looking at
               17 Exhibit No. 1 which is the anti-discrimination
               18 anti-retaliation policy at RICOH and having reviewed
               19 Exhibit No. 2 in the e-mail that Mr. Williams sent to
               20 Mr. Glancey that is set forth at the bottom, are you
               21 aware of any reason or rationale why the e-mail set
               22 forth in Exhibit No. 2 is an appropriate basis for
               49:1 discipline in the employee counseling report that is
                2 set forth in Exhibit No. 3 at RICOHRW331?
                3        MS. CONNOLLY: Objection to form. You may
                4 answer.
                5          THE WITNESS: No.

Ex. 7, Coggins, Dep. Tr., (Pages 48:16 to 49:5). Nevertheless, following issuance of the written

warning in response to Williams’s complaint of discrimination, Coggins “encouraged” Williams

to apologize to Glancey for alleging that Glancey had discriminated against Williams on the

basis of Williams’s race. Ex. 1, Glancey, Dep. Tr. 122:20 – 123:19. Moreover, Wilford




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instructed Williams to apologize to Glancey for alleging that Glancey treated Williams with a

slave master mentality. Ex. 2, Williams, Dep. Tr. 185:18 – 186:13.

       On August 8, 2013, Glancey issued Williams a second written Employee Counseling

Report for allegedly missing work, which referred back to the June 20, 2013 Employee

Counseling Report that referred to Williams’s protected activity as a basis for discipline. Ex. 11,

Ricoh_RW_000088. On December 11, 2013, Glancey issued Williams a third written Employee

Counseling Report, threatening Williams with termination. Ex. 12, Ricoh_RW_000066.

       On May 2, 2014, Glancey sent an email to Wilford and Campanella, stating “I would like

to discuss [Williams’s] problematic behaviors and consider him for termination.” Ex. 13, Ricoh-

RW_0000034 (emphasis added). Glancey recommended Williams for termination because

although Williams said he was cold calling potential clients during the morning of May 2, 2014,

Glancey felt that Williams was “being less than truthful with me.” Id. Moreover, Glancey

claimed that “This has been an ongoing problem with Robert, stretching back for years.” Id.

Despite recommending Williams for termination, Glancey testified during his deposition that

“there is certainly some amount of speculation in that statement,” and that in fact, “it is possible”

that Williams was telling the truth and that Williams was in fact cold calling clients on the

morning of May 2, 2014. Ex. 1, Glancey, Dep. Tr. 55:5 – 58:14. Even though Glancey had no

basis to believe that Williams’s claim that he was cold calling clients was anything other than the

truth, Glancey testified that as of May 2, 2014, Glancey was looking to discipline Williams

again, with the end goal being termination. Ex. 1, Glancey, Dep. Tr. 130:19 – 131:4.

       Thereafter, on July 28, 2014, Glancey issued Williams a fourth written Employee

Counseling Report, again referencing the first Employee Counseling Report issued to Williams

on June 20, 2013. Ex. 14, Ricoh_RW_000097. On September 11, 2014, Glancey issued



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Williams a verbal warning for “unexcused absences,” even though Williams provided doctor’s

records indicating that Williams was out sick due to a flare up of his peripheral neuropathy. Ex.

15, Ricoh_RW_0000340. On January 15, 2015, Glancey terminated Williams’s employment for

missing a Ricoh customer sponsored event. Williams was unable to attend the event because he

needed to attend a funeral on the morning of January 14, 2015, in addition to his mother was

admitted to the hospital that same morning. Williams notified Glancey of his mother’s

emergency condition as soon as Williams became aware of her hospitalization. Ex. 15,

Ricoh_RW_0000340; Ex. 2, Williams, Dep. Tr. 45:19 – 50:1; 149:8 – 151:14.

       The “Involuntary Termination Summary” Glancey issued to Williams lists the June 20,

2013 Employee Counseling Report as the first written warning issued to Williams and one of the

bases for the termination decision. Ex. 15, Ricoh_RW_0000340. During his deposition,

Glancey testified that Williams’s June 20, 2013 email, the email in which Williams requested a

meeting with HR because Williams thought that Glancey was treating him as a master would

treat a slave, was “an enough is enough moment,” was “the straw that broke the camel’s back,”

and that Glancey issued the first written warning on June 20, 2013 “for that reason”:

               113:21     Q Okay. Is it fair to say that at this
               22 juncture, as of June 20, 2013, you had reached a -- a
               114:1 turning point in your relationship with Robert
                2 Williams?
                3    A I don’t know if I’d say a turning point as
                4 much as this was a -- you used the term “the straw
                5 that broke the camel’s back.” I mean, it was just
                6 sort of a -- kind of an enough is enough moment
                7 with -- with him with his behavior.
                8    Q Is that why you made this a written warning
                9 as opposed to a verbal warning?
               10     A I made it a written warning for that reason.
               11 Yes.
               12     Q And at this point forward, did you make this
               13 decision that you were going to document any of
               14 Mr. Williams’ shortcomings?

                                                8
               15     A I made the decision at this moment that I
               16 would document significant repeat issues. Not every
               17 single -- you know, not every single issue, right,
               18 but -- but significant ones for sure and -- and
               19 continued repetition. Yes.
               20     Q And the purpose of documenting that was to,
               21 if necessary, justify Mr. Williams’ termination,
               22 correct?
               115:1     A Really, the purpose of documenting is to get
                2 the employee’s attention, to let them know how -- how
                3 serious the behavior are with any employee. You know,
                4 you never want, as a manager, to go to formal written
                5 discipline unless you really feel that you have to.
                6 And that’s where I was with Robert.
                7       And so while, of course, there is a big part
                8 of progressive discipline that says document so that
                9 when and if we reach the point of termination there is
               10 evidence, if you will. But the real purpose is to get
               11 the employee’s attention in hopes the behaviors will
               12 change. And so that was the -- the real intent here.
               …
               116:12      Q And if you get to the point where you’re
               13 terminating someone’s employment, do you want to have
               14 a written documentary record to rely on to justify
               15 that termination decision; is that correct?
               16     A You do. Yes.
               17     Q And you knew that as of June 20, 2013; is
               18 that fair to say?
               19     A I’ve always known that as a manager. Yes.

       Ex. 1, Glancey, Dep. Tr. 113:21 – 116:19.

       The final event cited in the termination decision - Williams’s absence at the January 14,

2015 sales event due to Williams’s mother’s illness and the need to attend a funeral - would

have only warranted a verbal warning had the employee been anyone other than Williams. Ex.

1, Glancey, Dep. Tr. 147:5 – 148:20. Moreover, another employee, Trini Lopez, did miss the

same January 14, 2015 meeting, and was not terminated. Glancey “just can’t remember because

it was, you know, a busy day with lots going on. And especially with the Robert situation, it was

probably not the first priority to – to remember where – whether she attended or not”:



                                                9
              147:5 Q Okay. And Ms. Lopez -- if you were aware
              6 that Ms. Lopez was not at that event, would you have
              7 disciplined Ms. Lopez?
              8    A If she was not at the event without --
              9 unexcused? Without communicating?
              10     Q Yes.
              11     A I would have.
              12     Q Okay. And would the -- did -- had -- did
              13 Ms. Lopez have a history of discipline similar to
              14 Mr. Williams’?
              15     A No.
              16     Q What would the level of discipline you would
              17 have meted out to Ms. Lopez have been?
              18     A With her it probably would have been a
              19 conversation because she didn’t have a history -- in
              20 fact, kind of the opposite. She had a history of
              21 being supportive and attending these events. In fact,
              22 we had one a few months later that she came in the
              148:1 night before and helped us set up and was very -- you
              2 know, it wasn’t her MO, if you will, to -- to not show
              3 up for events.
              4        So it would have been a little out of
              5 character if she didn’t show up. And so I probably
              6 would have just handled with a hey, you know -- I
              7 would have asked her kind of like I indicated in the
              8 beginning of this -- this deposition. I would have
              9 probably asked her what happened, why weren’t you
              10 there. And then depending on the answer, you know,
              11 maybe had a conversation about, you know, making sure
              12 that, you know, it doesn’t happen again and letting me
              13 know in advance if she wasn’t going to attend.
              14     Q Okay.
              15     A And I want to finish by saying that if -- if
              16 in fact she didn’t attend, it’s most likely that she
              17 let me know and I just -- I just can’t remember
              18 because it was, you know, a busy day with lots going
              19 on. And especially with the Robert situation, it was
              20 probably not the first priority to -- to remember
              21 where -- whether she attended or not.

Ex. 1, Glancey, Dep. Tr. 147:5 – 148:20.




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      II.      Statement of Material Facts in Dispute

            Plaintiff does not dispute Defendant’s Statement of Undisputed Material Facts ¶¶ 1-17,

  20-32, 39-40, 43-44, 46-47, 50, 54-67, 69-76, 78, 80-88, and 90-93. Plaintiff disputes the below-

  proffered facts and provides citations to the record to support his dispute of those facts.

        Ricoh’s Asserted Facts                  Williams’s Facts Disputing Ricoh’s Asserted Facts

18. Despite these initial issues, Glancey   On May 2, 2014, Glancey sent an email to Wilford and
did not discipline Williams as he was a     Campanella, stating that “This has been an ongoing
new manager to the team. (Glancey Dep.      problem with Robert, stretching back for years.” Id.
at 49.) Instead, he wanted to “give him a   However, the June 20, 2013 Employee Counseling Report
clean slate.” (Id.)                         was Williams’s first written warning he had received in his
                                            thirteen (13) years of employment at Ricoh, and Glancey
                                            testified during his deposition that he issued the first
                                            warning in response to Williams telling Glancey that he
                                            would not allow Glancey to treat him like a slave. Ex. 1,
                                            Glancey, Dep. Tr. 105:8 – 106:10.
19. Glancey wanted “to observe the          On May 2, 2014, Glancey sent an email to Wilford and
team and build a professional rapport       Campanella, stating that “This has been an ongoing
with the team before coming in and          problem with Robert, stretching back for years.” Id.
making immediate assessments and            However, the June 20, 2013 Employee Counseling Report
disciplinary action.” (Courtnie Wilford     was Williams’s first written warning he had received in his
Dep. (“Wilford Dep.”) at 23, attached as thirteen (13) years of employment at Ricoh, and Glancey
Ex. 6.)                                     testified during his deposition that he issued the first
                                            warning in response to Williams telling Glancey that he
                                            would not allow Glancey to treat him like a slave. Ex. 1,
                                            Glancey, Dep. Tr. 105:8 – 106:10.
33. Early on Friday morning, June 14,       Glancey testified during his deposition that he was offended
2013, Williams and Glancey exchanged        by (and, in fact, was still offended by) Williams’s accusing
the following emails:                       Glancey of having a “master mentality…treating employee
[Glancey:] I cannot help you develop a      like a slave,” and so he issued Williams the June 20, 2013
winning proposal by seeing it for the first Employee Counseling Report that was Williams’s first
time the day before its due. We             written warning he had received in his thirteen (13) years of
identified this opportunity over a year     employment at Ricoh:
ago & you have had more than 2 weeks        105:8      Q Were you offended when Mr. Williams said,
to begin crafting your response. I want to 9 “I’m not going to treat you with a ‘master’ -- allow
see your draft by 9am [sic] this morning. 10 you to treat me with a ‘master mentality’”?
If you want to learn how to do a            11       A It’s an offensive statement. I was
complete & professional job, as you         12 offended. Yes.
indicate, I suggest you start following my 13        Q And when he said, “I am not your slave,” did
direction instead of ignoring it.           14 you find that offensive?
                                            15       A I did. And I still do.
                                            16       Q And does it make you think less of him?

                                                   11
[Williams:] Tom, I will request a            17      A It doesn’t necessarily make me think less of
meeting with Human Resources ASAP. I         18 him. It’s just that it’s a horribly offensive
can not continue to be badgered and          19 comparison to draw to anyone.
belittled by you. I already [k]now how to    20      Q Is it something you thought he should be
do a professional job. You hurt our          21 disciplined for?
chances with FERC by referring them to       22      A I did. Yes.
Mr. Manley. I am not going to allow you      106:1      Q And is it one of the reasons that you sought
to treat me with a “Master” mentality. I     2 discipline for him?
am not your slave. I am a professional       3      A I sought discipline for a number of issues
sales person and I expect to be treated as   4 related to these e-mails, and that would be one of
such.                                        5 them. Yes.
                                             Ex. 2, Glancey, Dep. Tr. 105:8 – 106:5. Moreover,
(Id.)                                        Williams’ email was the basis for issuing the discipline:
                                             112:1      Q Is Exhibit 10 the e-mail chain that’s set
                                             2 forth there, the straw that broke the camel’s back and
                                             3 caused you to issue the discipline marked as Exhibit
                                             4 11?
                                             5        MS. CONNOLLY: Asked and answered. You
                                             can
                                             6 answer.
                                             7 BY MR. WOODFIELD:
                                             8      Q You can go ahead and answer.
                                             9        THE WITNESS: It’s fair – it’s fair to say.
                                             10 Yes.
                                             Ex. 1, Glancey, Dep. Tr. 112:1 to 112:10.
34. Glancey immediately forwarded            Glancey testified that as of May 2, 2014, Glancey was
Williams’s email to Courtnie Wilford of      looking to discipline Williams again, with the end goal
Ricoh’s Human Resources Department           being termination. Ex. 1, Glancey, Dep. Tr. 130:19 –
stating: “Please see the email below from    131:4.
Robert. He is insubordinate by refusing      113:21     Q Okay. Is it fair to say that at this
to share the working draft of a very large   22 juncture, as of June 20, 2013, you had reached a -- a
opportunity due on Tuesday. I have           114:1 turning point in your relationship with Robert
asked in writing numerous times and he        2 Williams?
is withholding.” (Id.)                        3     A I don’t know if I’d say a turning point as
                                              4 much as this was a -- you used the term “the straw
                                              5 that broke the camel’s back.” I mean, it was just
                                              6 sort of a -- kind of an enough is enough moment
                                              7 with -- with him with his behavior.
                                              8     Q Is that why you made this a written warning
                                              9 as opposed to a verbal warning?
                                             10      A I made it a written warning for that reason.
                                             11 Yes.
                                             12      Q And at this point forward, did you make this
                                             13 decision that you were going to document any of
                                             14 Mr. Williams’ shortcomings?
                                             15      A I made the decision at this moment that I

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                                         16 would document significant repeat issues. Not every
                                         17 single -- you know, not every single issue, right,
                                         18 but -- but significant ones for sure and -- and
                                         19 continued repetition. Yes.
                                         20       Q And the purpose of documenting that was to,
                                         21 if necessary, justify Mr. Williams’ termination,
                                         22 correct?
                                         115:1       A Really, the purpose of documenting is to get
                                          2 the employee’s attention, to let them know how -- how
                                          3 serious the behavior are with any employee. You know,
                                          4 you never want, as a manager, to go to formal written
                                          5 discipline unless you really feel that you have to.
                                          6 And that’s where I was with Robert.
                                          7         And so while, of course, there is a big part
                                          8 of progressive discipline that says document so that
                                          9 when and if we reach the point of termination there is
                                         10 evidence, if you will. But the real purpose is to get
                                         11 the employee’s attention in hopes the behaviors will
                                         12 change. And so that was the -- the real intent here.
                                         …
                                         116:12       Q And if you get to the point where you’re
                                         13 terminating someone’s employment, do you want to
                                         have
                                         14 a written documentary record to rely on to justify
                                         15 that termination decision; is that correct?
                                         16       A You do. Yes.
                                         Ex. 1, Glancey, Dep. Tr. 113:21 – 115:12; 116:12 - 116:16.
35. Thereafter, Wilford had a            After sending the June 14, 2013 email, Williams spoke with
conversation with Williams, lasting      Coggins and Wilford on the phone to discuss the email
between 15 and 20 minutes, about the     further. During the phone call with Wilford to discuss the
how he was feeling and the environment allegations contained in the June 14, 2013 email, Wilford
in which he worked. (Wilford Dep. at     asked Williams why he said Glancey had a master-slave
35.) Wilford questioned Williams on      mentality, and Williams replied “Because I think [Glancey]
what he meant by the “slave” comment.    is racist. Yes.” Ex. 2, Williams, Dep. Tr. 176:6 – 13.
According to Wilford, Williams           Nevertheless, Coggins then “encouraged” Williams to
responded that he felt micro-managed by apologize to Glancey for alleging that Glancey had
Glancey. (Wilford Dep. at 37.)           discriminated against Williams on the basis of Williams’s
                                         race. Ex. 1, Glancey, Dep. Tr. 122:20 – 123:19. Moreover,
                                         Wilford instructed Williams to apologize to Glancey for
                                         alleging that Glancey treated Williams with a slave master
                                         mentality. Ex. 2, Williams, Dep. Tr. 185:18 – 186:13.
36. Williams claims that he told Wilford After sending the June 14, 2013 email, Williams spoke with
that he believed that Glancey was a      Coggins and Wilford on the phone to discuss the email
“racist.” (Williams Dep. at 176.)        further. During the phone call with Wilford to discuss the
Williams claims that prior to this       allegations contained in the June 14, 2013 email, Wilford
discussion with Wilford, he had          asked Williams why he said Glancey had a master-slave

                                               13
complained about Glancey to her before         mentality, and Williams replied “Because I think [Glancey]
but never tied his complaint to his age or     is racist. Yes.” Ex. 2, Williams, Dep. Tr. 176:6 – 13.
race. (Williams Dep. at 193.)                  Nevertheless, Coggins then “encouraged” Williams to
                                               apologize to Glancey for alleging that Glancey had
                                               discriminated against Williams on the basis of Williams’s
                                               race. Ex. 1, Glancey, Dep. Tr. 122:20 – 123:19. Moreover,
                                               Wilford instructed Williams to apologize to Glancey for
                                               alleging that Glancey treated Williams with a slave master
                                               mentality. Ex. 2, Williams, Dep. Tr. 185:18 – 186:13.
37. Although Glancey found Williams’s          102:21      Q So how many times in your career has an
email to be “incredibly offensive”             22 African-American employee said that they are not going
because the terms “master” and “slave”         103:1 to allow you to treat them as a slave and you behave
are a “reference to a lot of really horrible   2 like a master?
things,” Glancey did not understand the        3 A Never.
email to be a reference to racial              4      Q Do you understand “master” and “slave” in
discrimination. (Glancey Dep. at 100,          5 this e-mail to be anything other than a reference to a
102, 103.)                                     6 racial dichotomy?
                                               7      A I think they’re reference to a lot of really
                                               8 horrible things.
                                               9      Q My question is a little different than that.
                                               10 Do you understand the reference here to be anything
                                               11 other than a racial dichotomy of a master and slave
                                               12 relationship?
                                               13       A I didn’t think about it in those terms and I
                                               14 still don’t really think about it in those terms. But
                                               15 I understand your question and I understand why you
                                               16 would ask it.
                                               17       Q Why do you understand that?
                                               18       A Because slavery was typically an African
                                               19 American -- people were put in slavery.
                                               20       Q And was that obvious to you on June 14,
                                               21 2013, that the master and slave relationship was
                                               22 typically a white master and a black slave?
                                               104:1       A I think it’s always been since I first
                                               2 learned about it.
                                               Ex. 1, Glancey, Dep. Tr. 102:21 - 104:2.
38. On Monday June 17, 2013,                   After sending the June 14, 2013 email, Williams spoke with
Williams sent the following email to           Coggins and Wilford on the phone to discuss the email
Glancey: “Tom, in my email on Friday I         further. During the phone call with Wilford to discuss the
stated that you have a ‘master’ mentality      allegations contained in the June 14, 2013 email, Wilford
and for that I sincerely apologize.            asked Williams why he said Glancey had a master-slave
Frankly, I was upset and stressed about        mentality, and Williams replied “Because I think [Glancey]
some circumstances I feel that you and I       is racist. Yes.” Ex. 2, Williams, Dep. Tr. 176:6 – 13.
can work out if you are willing. Upon          Nevertheless, Coggins then “encouraged” Williams to
seeing you I will apologize in person.”        apologize to Glancey for alleging that Glancey had
(R. Williams Email String                      discriminated against Williams on the basis of Williams’s

                                                    14
(Williams0000324), attached as Ex. 11.)    race. Ex. 1, Glancey, Dep. Tr. 122:20 – 123:19. Moreover,
(Note: On June 18, 2013, Glancey           Wilford instructed Williams to apologize to Glancey for
emailed Williams in connection with an     alleging that Glancey treated Williams with a slave master
unrelated order and stated: “Nice order-   mentality. Ex. 2, Williams, Dep. Tr. 185:18 – 186:13.
thanks for your professionalism this
morning, looking forward to a great
working relationship & lots of success.”
(See Email String
(RICOH_RW_0000312), attached as Ex.
12.) Williams responded: “Thanks Tom,
I appreciate your willingness to work
with me. I am fully focused on ... Being
a better team member and exhibiting
leadership.” (Id.))
41. Thereafter, Glancey worked with        Glancey testified that as of May 2, 2014, Glancey was
Wilford to craft an Employee Counseling    looking to discipline Williams again, with the end goal
Report (“ECR”) to Williams addressing      being termination. Ex. 1, Glancey, Dep. Tr. 130:19 –
six discrete performance, abseentism,      131:4.
insubordination and other behavioral       113:21     Q Okay. Is it fair to say that at this
issues. (See Email String                  22 juncture, as of June 20, 2013, you had reached a -- a
(RICOH_RW_0000053, attached as Ex.         114:1 turning point in your relationship with Robert
14; see also ECR                            2 Williams?
(RICOH_RW_000040), attached as Ex.          3     A I don’t know if I’d say a turning point as
15.)                                        4 much as this was a -- you used the term “the straw
42. Glancey decided to issue the ECR at     5 that broke the camel’s back.” I mean, it was just
that time because he observed Williams’s    6 sort of a -- kind of an enough is enough moment
“behaviors really declin[ing], primarily    7 with -- with him with his behavior.
towards the back half of [June 2012 to      8     Q Is that why you made this a written warning
June 2013]” and after trying “to address    9 as opposed to a verbal warning?
it through coaching, through counseling,   10      A I made it a written warning for that reason.
through [Williams’] monthly review and     11 Yes.
plan [(“RAP)] sessions, and through less   12      Q And at this point forward, did you make this
than formal measures” it became            13 decision that you were going to document any of
“apparent to [Glancey] in June 2013 that   14 Mr. Williams’ shortcomings?
enough was enough.” (Glancey Dep. at       15      A I made the decision at this moment that I
113.)                                      16 would document significant repeat issues. Not every
45. Williams admits that on August 15,     17 single -- you know, not every single issue, right,
2013, Williams was absent from work        18 but -- but significant ones for sure and -- and
without communicating in advance.          19 continued repetition. Yes.
(Williams Dep. at 251.) Glancey issued     20      Q And the purpose of documenting that was to,
an ECR to Williams as a result. (See       21 if necessary, justify Mr. Williams’ termination,
ECR (RICOH_RW_0000088, attached as         22 correct?
Ex. 16.)                                   115:1      A Really, the purpose of documenting is to get
48. When Glancey questioned Williams        2 the employee’s attention, to let them know how -- how
about his whereabouts on August 30,         3 serious the behavior are with any employee. You know,
2013, Williams stated “it seems like        4 you never want, as a manager, to go to formal written

                                                15
every time I slip up or make a mistake       5 discipline unless you really feel that you have to.
I’m written up.” (Id.)                       6 And that’s where I was with Robert.
                                             7        And so while, of course, there is a big part
                                             8 of progressive discipline that says document so that
                                             9 when and if we reach the point of termination there is
                                            10 evidence, if you will. But the real purpose is to get
                                            11 the employee’s attention in hopes the behaviors will
                                            12 change. And so that was the -- the real intent here.
                                            …
                                            116:12      Q And if you get to the point where you’re
                                            13 terminating someone’s employment, do you want to
                                            have
                                            14 a written documentary record to rely on to justify
                                            15 that termination decision; is that correct?
                                            16      A You do. Yes.
                                            Ex. 1, Glancey, Dep. Tr. 113:21 – 115:12; 116:12 - 116:16.
49. Williams admits that he was             257:15     Q. And were you slipping up in August of
slipping up and making mistakes a lot in    16 2013 and making mistakes?
2013. (Williams Dep. at 257.)               17      A. I was -- yes. And basically because I
                                            18 was very, very frustrated and stressed, health
                                            19 issues, what’s happening to him at work, I wasn’t
                                            20 making any money at that time because I was just
                                            21 demoralized, so to speak, or depressed, so to
                                            22 speak (sic).
                                            23         Because I knew I had been trying my best
                                            24 and been doing my best, and to receive this
                                            25 treatment all of a sudden after so many years, you
                                            258:1 know -- and, frankly, I loved Ricoh. But when Tom
                                             2 came along, all that changed. I still -- I ain’t
                                             3 going to say I hate Ricoh, but I hated -- I ain’t
                                             4 going to say, I hate nobody. I disliked the
                                             5 treatment I was receiving from the manager, and
                                             6 the fact that I couldn’t get no assistance from
                                             7 HR. And that started to affect me.
                                            Ex. 2, Williams, Dep. Tr. 257:15 – 258:7.
51. In December 2013, Glancey issued        Glancey testified that as of May 2, 2014, Glancey was
to Williams a final written warning after   looking to discipline Williams again, with the end goal
he annotated a work order that had          being termination. Ex. 1, Glancey, Dep. Tr. 130:19 –
already been signed by a customer in        131:4.
violation of Ricoh policy. (See ECR         113:21     Q Okay. Is it fair to say that at this
(RICOH_RW_0000087, attached as Ex.          22 juncture, as of June 20, 2013, you had reached a -- a
19.)                                        114:1 turning point in your relationship with Robert
                                             2 Williams?
                                             3     A I don’t know if I’d say a turning point as
                                             4 much as this was a -- you used the term “the straw
                                             5 that broke the camel’s back.” I mean, it was just

                                                 16
52. Although Ricoh had a basis to             6 sort of a -- kind of an enough is enough moment
terminate Williams for this conduct,          7 with -- with him with his behavior.
Glancey “didn’t want to terminate him”        8     Q Is that why you made this a written warning
because he “really wanted him to ...          9 as opposed to a verbal warning?
change ... and be a leader and part of the   10      A I made it a written warning for that reason.
team.” (Glancey Dep. at 127-28.)             11 Yes.
53. Glancey’s issuance of a final written    12      Q And at this point forward, did you make this
warning to Williams in December 2013         13 decision that you were going to document any of
was “not at all” motivated by Williams’s     14 Mr. Williams’ shortcomings?
accusation six month earlier that Glancey    15      A I made the decision at this moment that I
treated him like a “slave.” (Glancey         16 would document significant repeat issues. Not every
Dep. at 129.)                                17 single -- you know, not every single issue, right,
68. Within a few days thereafter in          18 but -- but significant ones for sure and -- and
January 2015, Glancey consulted with his     19 continued repetition. Yes.
managers (Brown and Campanella) and          20      Q And the purpose of documenting that was to,
with Wilford on whether to terminate         21 if necessary, justify Mr. Williams’ termination,
Williams given his “long and well-           22 correct?
documented history” of attendance            115:1      A Really, the purpose of documenting is to get
issues. (Glancey Dep. at 149.) Brown,         2 the employee’s attention, to let them know how -- how
Campanella and Wilford all supported          3 serious the behavior are with any employee. You know,
the termination. (See Brown Dep. at 45;       4 you never want, as a manager, to go to formal written
see also Termination Summary                  5 discipline unless you really feel that you have to.
(RICOH_RW_000089), attached as Ex.            6 And that’s where I was with Robert.
31.)                                          7        And so while, of course, there is a big part
                                              8 of progressive discipline that says document so that
                                              9 when and if we reach the point of termination there is
                                             10 evidence, if you will. But the real purpose is to get
                                             11 the employee’s attention in hopes the behaviors will
                                             12 change. And so that was the -- the real intent here.
                                             …
                                             116:12      Q And if you get to the point where you’re
                                             13 terminating someone’s employment, do you want to
                                             have
                                             14 a written documentary record to rely on to justify
                                             15 that termination decision; is that correct?
                                             16      A You do. Yes.
                                             Ex. 1, Glancey, Dep. Tr. 113:21 – 115:12; 116:12 - 116:16.
77. Approximately six months after           168:20     Q. And how long had Tom been managing you
Glancey began managing Williams,             21 at the time of this discussion with Jackie?
Williams claims he developed the belief      22      A. Six, eight months, maybe.
that Glancey was a racist based solely on    23      Q. Okay. And during that six- to
the tone of voice that Williams perceived    24 eight-month period was he using that tone that you
Glancey to use with him and “other           25 found to be demeaning?
blacks.” (See Williams Dep. at 169.)         169:1      A. Yes.
                                              2     Q. Okay. Was Dan terminated at this point?
                                              3     A. Dan was still there.

                                                  17
                                             4     Q. What about Eric?
                                             5     A. Eric was still there.
                                             6     Q. Had the DOE meeting or the DVA meeting
                                             7 taken place?
                                             8     A. No, ma’am.
                                             9     Q. Okay. So at the time that you answered
                                            10 yes to Jackie three or four years ago, the only
                                            11 thing that you were relying on, am I right, was
                                            12 the way he was talking to you?
                                            13     A. And other blacks.
                                            14     Q. What other examples, if any, do you
                                            15 have?
                                            16     A. The same tone as -- I don't know how to
                                            17 say it or document it, but you just have to see
                                            18 it. You have to experience it.
                                            Ex. 2, Williams, Dep. Tr. 168:20 – 169:18.
79. Williams claims that after he began     60:17    Q. Okay. So having received this, you
receiving discipline from Glancey in        18 understood that you were expected to show up and
June 2013 for missing meetings, he          19 bring your prospects and customers to these types
developed the belief that non-African-      20 of events; right?
American employees- Trini Lopez,            21     A. No.
Lance Helmick and Jeannie Hooks-            22     Q. Why not?
failed to show up at meetings but did not   23         MR. WOODFIELD: Objection. Go ahead.
receive discipline for it. (See Williams    24         THE WITNESS: Because it's not mandatory
Dep. at 61 (“no one was written up for      25 attendance. Okay. We have a team effort. If you
missing one of these events except me”);    61:1 could not be there, it happened several times as a
see also id. at 70.)                         2 manager, he would entertain your customers or he
                                             3 would assign a team member to entertain your
                                             4 customers. No one was ever written up for missing
                                             5 one of these events except for me.
                                             6     Q. How do you know that?
                                             7     A. Because I know my team members, we
                                             8 talked.

                                            62:17    Q. Okay. So you have knowledge about
                                            18 people who told you who else wasn't there, but
                                            19 you're not going to disclose that at your
                                            20 deposition?
                                            21       MR. WOODFIELD: You have to answer.
                                            22       THE WITNESS: Okay. I was told by
                                            23 Terrance Deans that Trini Lopez wasn't there. And
                                            24 I asked Trini was she there, after my termination.
                                            25 BY MS. CONNOLLY:
                                            63:1    Q. And what did Trini say?
                                             2    A. She said she -- she said no.
                                             3    Q. Trini said, no, I didn't go to FedEx

                                                 18
 4   Field?
 5       A. Correct. And then I talked to her again
 6   maybe January of this year, and she told me she
 7   received a text from Tom Glancey asking if she was
 8   there. And she told him -- she told him that she
 9   couldn't recall.
10        Q. Was she lying to Tom Glancey when she
11    said she couldn't recall?
12        A. I have no idea why Tom texted her. To
13    me, he should have known.
14        Q. Okay. Let me just make sure my question
15    is clear. So it's your testimony that when you
16    discussed with Trini whether she was there, she
17    affirmatively told you that she did not go.
18        A. Correct.
19        Q. But that when Tom Glancey asked her if
20    she went --
21        A. She said she couldn't remember.
22        Q. Okay.
23        A. So I asked why he -- why she couldn't
24    remember. I don't know what he was getting at, so
25    I just said that.

69:25     Q. Okay. Let's talk about Lance for a
70:1 minute. So you say you think he missed a couple
 2 of events?
 3     A. I'm not sure of the one, but he missed a
 4 lot of team meetings, too, but they always excused
 5 him.
 6     Q. Let's talk about the events first and
 7 we'll talk about the team meetings second.
 8     A. Okay.
 9     Q. Okay. So with respect to events, how
10 long has -- is Lance a current employee?
11     A. Twenty-eight years.
12     Q. He's been there for 28 years?
13     A. Yes.
14     Q. And he's still there?
15     A. Yes.
16     Q. Okay. And can you remember specific
17 events that he missed?
18     A. No, I can't.
19     Q. What is the basis for your statement
20 that you know that Lance missed a couple? How do
21 you know that?
22     A. Because he missed a lot of things.

       19
                                              23 Because we used to talk about it.
                                              24       Q. You had a discussion with Lance?
                                              25       A. We discussed it with the team members,
                                              71:1 why was Lance always excused from meetings. And
                                               2 Trini and Jeannie.
                                               3      Q. Who was party to these discussions?
                                               4      A. Mark Harris, Terrance Deans, Susan Tool,
                                               5 all the team members.
                                              Ex. 2, Williams Dep. at 60:17 – 61:8; 62:17 – 63:25; 69:25
                                              – 71:5.
89. Despite his belief that Glancey was       During the phone call with Wilford to discuss the
a racist and that Williams was not being      allegations contained in the June 14, 2013 email, Wilford
treated fairly by him, Williams admits        asked Williams why he said Glancey had a master-slave
that he never tied Glancey’s treatment of     mentality, and Williams replied “Because I think [Glancey]
him to his race: [Question:] Tell me          is racist. Yes.” Ex. 2, Williams, Dep. Tr. 176:6 – 13.
about any discussions you had with Tom        Therefore, Williams not only made a complaint of race
Glancey wherein you told him that you         discrimination when he sent the June 14, 2013 email, but he
believed that he was treating African-        explicitly told Wilford, a HR professional at Ricoh, that he
Americans more harshly? [Answer:] I           sent the email because he felt that Glancey was racist.
just told Tom about me. I didn’t tell me
about other employees. I complained to
him about the way he was treating me.
[Question:] ... When did you do that?
[Answer:] Several - several occasions.
At our RAP sessions. And I refused to
sign some of his write-ups. Then he
would call me and harass me. Then he
threw the box at me the day I was
leaving, and things like that. [Question:]
And did you tie that to your race?
[Answer:] I knew it was going downhill,
so that’s when I went to my exit
interview. I didn’t tell them what I really
thought. I knew what I planned to do,
and I knew it was wrong and I planned to
do something about it, so I didn’t tell
them everything. No, I did not.
[Question:] [D]id you ever tell Tom
Glancey when you were complaining
about his treatment of you that you felt
he was treating you differently than he
was treating non- African-American
people? [Answer:] No. (Williams Dep. at
180 (emphasis added).)




                                                    20
   III.      Summary Judgment Standard

          Defendant correctly notes that summary judgment is proper only when there are no

genuine issues as to any material facts and the moving party is entitled to judgment as a matter of

law. Fed. R. Civ. P. 56(c); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). Facts are

material when proof of their existence or nonexistence would affect the case’s outcome.

Anderson, 477 U.S. at 248. An issue is genuine if a reasonable jury might return a verdict in

favor of the nonmoving party on the basis of such issues. Id. at 248. A court must view facts and

reasonable inferences drawn from such facts in a light most favorable to the nonmoving party.

Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587-88 (1986). A court

“may not resolve genuine disputes of fact in favor of the party seeking summary judgment.”

Tolan v. Cotton, 134 S. Ct. 1861, 1866 (2014).

   IV.       Williams Establishes A Prima Facie Case Of Discrimination Under Title VII.

          Williams has presented a prima facie case of discrimination based on race. In order to

state a prima facie case of discrimination, the plaintiff must establish (1) he is a member of a

protected class; (2) he was subject to an adverse employment action; and (3) there was an

inference of unlawful discrimination or that he was treated differently than people outside the

protected class. See Burgoon v. Potter, 369 F. Supp. 2d 789 (E.D. Va. 2005) (citing Texas Dep’t

of Comty. Affairs v. Burdine, 450 U.S. 248, 253 (1981)); Webster v. Rumsfeld, 156 Fed. App’x

571, 578 (4th Cir. 2005) (quoting Hill v. Lockheed Martin Logistics Mgmt., Inc., 354 F.3d 277,

285 (4th Cir. 2004) (en banc)). The causation standard set forth in University of Texas

Southwestern Medical Center v. Nassar, 133 S. Ct. 2517, 2533 (2013), is “but-for” causation.

However, in Foster v. University of Maryland—Eastern Shore, 787 F.3d 243, 249, 252 (4th Cir.

2015), the Fourth Circuit explained that while Nassar changed the causation standard for claims



                                                 21
based on direct evidence of retaliatory animus, “Nassar does not alter the legal standard for

adjudicating a McDonnell Douglas retaliation claim.” The instant case does not rely on direct

evidence, so it must be judged under the causation standard developed for McDonnell Douglas

claims, not the standard outlined for Nassar:

               To prevail under the McDonnell Douglas framework, [Plaintiff]
               must first establish a prima facie case by showing: (i) “that [she]
               engaged in protected activity,” (ii) “that [her employer] took
               adverse action against [her],” and (iii) “that a causal relationship
               existed between the protected activity and the adverse employment
               activity.”…The burden then shifts to the [Defendant] to show that
               its purportedly retaliatory action was in fact the result of a
               legitimate non-retaliatory reason…If the employer makes this
               showing, the burden shifts back to the plaintiff to rebut the
               employer’s evidence by demonstrating that the employer’s
               purported nonretaliatory reasons “were not its true reasons, but
               were a pretext for discrimination.”

Foster, 787 F.3d at 250 (internal citations omitted). The Forth Circuit in Foster also confirmed

that Nassar has no bearing on the causation element or pretext stage of the McDonnell Douglas

framework. See id. at 251-252.

       A. Plaintiff is a Member of Protected Class and Engaged in Protected Activity.

       Defendant does not dispute that Williams is African-American.

       B. Plaintiff Engaged in Protected Activity

       During her deposition Coggins testified that it was her job to determine whether an

employee had made a complaint of discrimination. Ex. 7, Coggins, Dep. Tr. 24:21 – 25:2.

Coggins testified that it was her job to investigate any concern brought forward by an employee,

“whatever that concern is.” Ex. 7, Coggins, Dep. Tr. 26:10 – 11. Moreover, Coggins testified

that as a HR professional, she was required to investigate whether an employee’s complaint of

unfair treatment, even if couched in less than artful terms, was nonetheless a complaint of

discrimination. Ex. 7, Coggins, Dep. Tr. 65:3 – 10. With respect to Williams’s June 14, 2013

                                                22
email in which Williams requested a meeting with HR and stated that he would not permit

Glancey to treat him with a “master” mentality as a master would treat a slave, Coggins testified

that “typically, if an employee were to come with this type of an allegation, we would investigate

it.” Ex. 7, Coggins, Dep. Tr. 36:14 – 37:37:10. Moreover, Coggins confirmed that she

understood Williams’s email to Glancey to be an allegation of discrimination and that she had no

basis to believe that Williams’s allegation was false or was anything other than it was purported

to be. Ex. 7, Coggins, Dep. Tr. 39:17 – 40:1; 64:6 – 65:3; 65:15 – 66:2. Likewise, Williams

testified that he explicitly told Wilford that he believed that Glancey was racist.” Ex. 2,

Williams, Dep. Tr. 176:6 – 13. Moreover, Williams made this statement to Wilford during a

phone conversation to discuss Williams’s June 14, 2013 email in which he stated that Glancey

treated Williams with a slave master mentality. As a result, Coggins and Wilford, both HR

professionals, were aware that Williams’s email was a complaint of race discrimination, and a

request for HR to intervene.

       C. Defendant Concedes that Plaintiff’s Performance was Considered Satisfactory
          Up Until Plaintiff Engaged in Protected Activity

In Wheat v. Florida Parish Juvenile Justice Comm’n, 811 F.3d 702 (5th Cir. 2016), affirmed in

part and reversed in part), the Fifth Circuit held that the defendant’s more lenient treatment of

plaintiff for the same sort of offense before she exercised her FMLA and Title VII rights,

compared to its harsh treatment of her afterwards, created a jury issue of causation. Similarly, it’s

inconsistent treatment of other employees, sometimes harsh and sometimes not, created a dispute

of material fact. Id. On May 2, 2014, Glancey sent an email to Wilford and Campanella, stating

“I would like to discuss [Williams’s] problematic behaviors and consider him for termination,”

as “[t]his has been an ongoing problem with Robert, stretching back for years.” Ex. 13, Ricoh-

RW_0000034 (emphasis added). However, during his deposition, Glancey explicitly identified

                                                 23
the starting point of the documentation of Williams’s performance issues as being Williams’s

June 14, 2013 email in which Williams complained of racial discrimination. Specifically,

Glancey testified that Williams’s June 14, 2013 email in which Williams requested a meeting

with HR to address reasonably perceived racial discrimination was “the straw that broke the

camel’s back,” as the email prompted Glancey to start documenting Williams’s alleged

performance deficiencies in order to build a case for termination. Ex. 1, Glancey, Dep. Tr. 112:1

– 10. When asked whether the email chain between Williams, Glancey, Coggins, and Wilford,

which contained William’s request for a meeting with HR to address reasonably perceived racial

discrimination was “the straw that broke the camel’s back and caused [Glancey] to issue [the

discipline to Williams]”, Glancey replied “It’s fair – it’s fair to say. Yes.” Id.

       D. Ongoing Discipline Is An Adverse Employment Action.

       The Fourth Circuit has held that an employee’s mere dissatisfaction with an aspect of

work does not mean the employer has committed an actionable adverse action. However, if the

aspect of work effects a term, condition, or benefit of employment, or has a tangible effect on

employment, it does rise to the level of an adverse action. See James v. Booz-Allen & Hamilton,

Inc., 368 F.3d 371, 377 (4th Cir. 2004) (citing Von Gunton v. Maryland, 243 F.3d 858, 867 (4th

Cir. 2001) (internal citations omitted). “We have repeatedly made clear that although [Title VII]

mentions specific employment decisions with immediate consequences, the scope of the

prohibition ‘is not limited to “economic” or “tangible” discrimination,’ Harris v. Forklift Sys.,

Inc., 510 U.S. 17, 21 (1993) (quoting Meritor Savings Bank, FSB v. Vinson, 477 U.S. 57, 64

(1986)), and that it covers more than ‘terms’ and ‘conditions’ in the narrow contractual sense.”

Faragher v. Boca Raton, 524 U.S. 775, 786 (1998) (quoting Oncale v. Sundowner Offshore

Servs., Inc., 523 U.S. 75, 78 (1998)).



                                                 24
        As the Court stated in Harris, “[t]he phrase ‘terms, conditions, or privileges of

employment’ evinces a congressional intent ‘to strike at the entire spectrum of disparate

treatment…’ in employment, which includes requiring people to work in a discriminatorily

hostile or abusive environment.” 510 U.S. at 21 (some internal quotation marks omitted)

(quoting Meritor, 477 U.S. at 64, in turn quoting Los Angeles Dept. of Water & Power v.

Manhart, 435 U.S. 702, 707, n. 13 (1978)). “Workplace conduct is not measured in isolation…”

Clark Cnty. Sch. Dist. v. Breeden, 532 U.S. 268, 270 (2001) (per curiam). Courts have found that

“a change in working conditions may be a factor to consider in assessing whether a reassignment

qualifies as an adverse employment action that could give rise to…liability.” Boone v. Goldin,

178 F.3d 253, 256 (4th Cir. 1999).

   V.      Williams Establishes A Prima Facie Case Of Retaliation Under Title VII.

        To establish a prima facie case of retaliation, a plaintiff must show that (1) he engaged in

a protected activity, (2) the defendant took an adverse employment action against him, and (3) a

sufficient causal connection existed between the protected activity and defendant’s adverse

employment action. See Hopkins v. Baltimore Gas & Elec. Co., 77 F.3d 745, 754 (4th Cir.

1996). In so doing, the plaintiff must show that “a reasonable employee would have been

dissuaded by the adverse action from making or supporting a charge of discrimination.”

Chapman, 2012 WL 1533514, at *21 (citing Burlington N. & Santa Fe Ry. Co. v. White, 548

U.S. 53, 68 (2006)).

        On June 14, 2013, Williams engaged in protected activity when he emailed Glancey, his

supervisor, to request a meeting with Human Resources “ASAP,” stating “I cannot continue to

be badgered and belittled by you. I already now (sic) how to do a professional job. You hurt our

chances with FERC by referring them to Mr. Manley. I am not going to allow you to treat me



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with a “Master” mentality. I am not your slave. I am a professional sales person and I expect to

be tretaed (sic) as such.” Ex. 6, Ricoh_RW_000044-45. Williams’s email to Glancey clearly

articulates perceived discrimination on the basis of race worthy of investigation by HR, and as a

result constitutes protected activity.

        When engaging in protected activity, a plaintiff “must show that he or she held a good

faith, subjective, and objectively reasonable belief that the employer engaged in discriminatory

conduct. Peters v. Jenney, 3278 F.3d 307, 320-21 (4th Cir. 2003). Moreover, protected activity

need not mention a legally defined category in order to constitute protected activity. Laughlin v.

Metro. Washington Airports Auth., 149 F.3d 253, 259 (4th Cir. 1998). Rather, “[o]pposition

activity encompasses utilizing informal grievance procedures as well as staging informal protests

and voicing one’s opinions in order to bring attention to an employer’s discriminatory activities.”

Id. In fact, the Fourth Circuit recently opined in its holding in Boyer-Liberto v. Fountainbleau

Corp. that:

                We also recognize that an employee is protected from retaliation when she reports
                an isolated incident of harassment that is physically threatening or humiliating,
                even if a hostile work environment is not engendered by that incident alone.
                Finally, we specify that, to the extent today’s decision is in conflict with Jordan v.
                Alternative Resources Corp., 458 F.3d 332 (4th Cir.2006), Jordan is hereby
                overruled.

786 F.3d at 268-269.

        An employee need not use “magic words” in order to successfully make a complaint of

discrimination to an employer based on a protected characteristic. Okoli v. City Of Baltimore,

648 F.3d 216, 224 (4th Cir. 2011). In Okoli, the court held that the defendant “surely should

have known” that an employee’s email titled “harassment complaint” and a memo alleging

“unethical and unprofessional business characteristics, e.g. harassment, degrading and

dehumanizing yelling and demanding, disrespect, mocking and gossiping about other colleagues

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(anyone in the City Government) and lack or disregard for integrity” constituted protected

activity. Id. at 224. In the current case, Williams, an African American, emailed Glancey, his

Caucasian supervisor, on June 14, 2013, explicitly requesting a meeting with Human Resources

“ASAP,” and stating “I am not going to allow you to treat me with a “Master” mentality. I am

not your slave. I am a professional sales person and I expect to be treated (sic) as such.” Ex. 6,

Ricoh_RW_000044-45. Glancey forwarded Williams’s email to Coggins, in Human Resources,

who in turn sent Williams’s email to Wilford, also in Human Resources, stating “not good.” Id.

       After sending the June 14, 2013 email, Williams spoke with Coggins and Wilford on the

phone to discuss the email further. During the phone call with Wilford to discuss the allegations

contained in the June 14, 2013 email, Wilford asked Williams why he said Glancey had a

master-slave mentality, and Williams replied “Because I think [Glancey] is racist. Yes.” Ex. 2,

Williams, Dep. Tr. 176:6 – 13. Therefore, Williams not only made a complaint of race

discrimination when he sent the June 14, 2013 email, but he explicitly told Wilford, a HR

professional at Ricoh, that he sent the email because he felt that Glancey was racist.

       In addition, Williams’s understanding that Glancey treated African American employees

with a master-slave mentality was well known amongst Glancey’s subordinates. Kelly Wynn, an

African American employee, testified that he heard from Williams and some of Williams’s co-

workers that Glancey had a slave master mentality. Ex. 3, Wynn, Dep. Tr. 38:19 – 39:6. Wynn

said that Glancey’s “slave master mentality” was “well-noted dialogue that was had amongst

peers,” and that another Ricoh employee named Randall Smith, a Ricoh employee named

“Clarence” [presumably Terrance Deanes], and another employee whose name Wynn could not

remember also said that Glancey had a slave master mentality with respect to African American

employees. Ex. 3, Wynn, Dep. Tr. 39:17 – 21; 41:6 - 19. Likewise, Duane Graves, another



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African American colleague of Williams, testified that “Glancey was looking for reasons to get

rid of the black sales employees under him,” and that when Glancey terminated an African

American employee, Glancey always filled the position with a Caucasian employee. Ex. 4,

Graves, Dep. Tr. 81:2 – 7; 12-15. Similarly, another African American colleague of Williams,

Alexander Johnson, testified that Glancey was pressuring Johnson to leave Ricoh so that Glancey

could give Johnson’s job to a Caucasian female who had no prior experience in the industry. Ex.

5, Johnson, Dep. Tr. 69:13 – 71:12. Likewise, Johnson testified that Glancey issued warnings to

African American employees who missed meetings, but did not do the same for Lance Helmick

and Dan Logan, Caucasian employees who also missed meetings. Ex. 5, Johnson, Dep. Tr.

72:10 – 18; 119:11 – 120:13. Johnson also testified that “Williams spoke up about Glancey’s

unfair treatment, as the rest of his colleagues were afraid to report it.” Ex. 5, Johnson, Dep. Tr.

106:5 – 17. Johnson identified the colleagues who were afraid to report Glancey’s unfair

treatment as Randall Smith, Mark Evans [presumably Mark Harris], and a man named Kevin, all

of whom were African American. Ex. 5, Johnson, Dep. Tr. 107:9 – 108:4. Johnson also testified

that in his opinion, Glancey was prejudiced against minorities, including African Americans.

Ex. 5. Johnson, Dep. Tr. 117:2 – 20.

       That Williams’s statement states a race complaint as its substance is obvious if

considered in its converse. If Glancey emailed Williams on June 14, 2013, explicitly requesting

a meeting with Human Resources “ASAP,” and stating “I am going to treat you with a “Master”

mentality. You are my slave.” There is no dispute that this would evidence racially motivated

discrimination, and so Williams’ complaint averring the same statements in protest is evidence of

a complaint of racially motivated discrimination. Therefore Glancey, as well as Coggins and

Wilford, both HR professionals, knew or surely should have known that Williams was making a



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complaint of discrimination based on race on account of both Williams’s June 14, 2013 email

and Williams’s subsequent phone conversation with Wilford. Likewise, multiple African

American employees who reported to Glancey discussed openly the fact that Glancey treated

them with a slave master mentality. Against this backdrop, Williams’s June 14, 2013 email was

clear and unambiguous – Williams was making a complaint of race discrimination against

Glancey, he wanted to meet with HR to address the discrimination, and in a follow-up phone call

he explicitly told Ricoh’s HR that he felt that Glancey was racist.

   1. Ricoh Considered Williams’s June 14, 2013 Email to be Protected Activity

       During her deposition, Coggins testified that it was her job to determine whether an

employee had made a complaint of discrimination. Ex. 7, Coggins, Dep. Tr. 24:21 – 25:2.

Coggins testified that it was her job to investigate any concern brought forward by an employee,

“whatever that concern is.” Ex. 7, Coggins, Dep. Tr. 26:10 – 11. Moreover, Coggins testified

that as a HR professional, she was required to investigate whether an employee’s complaint of

unfair treatment, even if couched in less than artful terms, was nonetheless a complaint of

discrimination. Ex. 7, Coggins, Dep. Tr. 65:3 – 10. With respect to Williams’s June 14, 2013

email in which Williams requested a meeting with HR and stated that he would not permit

Glancey to treat him with a “master” mentality as a master would treat a slave, Coggins testified

that “typically, if an employee were to come with this type of an allegation, we would investigate

it.” Ex. 7, Coggins, Dep. Tr. 36:14 – 37:37:10. Moreover, Coggins confirmed that she

understood Williams’s email to Glancey to be an allegation of discrimination, and that she had

no basis to believe that Williams’s allegation was false or was anything other than it was

purported to be. Ex. 7, Coggins, Dep. Tr. 39:17 – 40:1; 64:6 – 65:3; 65:15 – 66:2. Likewise,

Williams testified that he explicitly told Wilford that he believed that Glancey was racist.” Ex.



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2, Williams, Dep. Tr. 176:6 – 13. Moreover, Williams made this statement to Wilford during a

phone conversation to discuss Williams’s June 14, 2013 email in which he stated that Glancey

treated Williams with a slave master mentality. As a result, Coggins and Wilford, both HR

professionals, were aware that Williams’s email was a complaint of race discrimination, and a

request for HR to intervene.

    2. Ricoh Retaliated Against Williams for Engaging in Protected Activity

        In order to establish a prima facie case of retaliation, a plaintiff must prove three

elements: (1) that he engaged in a protected activity; (2) that her employer took an adverse

employment action against him; and (3) that there was a causal link between the two events.

E.E.O.C. v. Navy Fed. Credit Union, 424 F.3d 397, 405-06 (4th Cir. 2005); see also Von Gunten

v. Maryland, 243 F.3d 858, 863 (4th Cir.2001) (citing Beall v. Abbott Labs., 130 F.3d 614, 619

(4th Cir.1997)). After establishing a prima facie case of retaliation, the burden shifts to the

employer to articulate a legitimate, non-discriminatory reason for the adverse employment

action. See McDonnell-Douglas Corp. v. Green, 411 U.S. 792, 804 (1973); Texas Dep’t of

Cmty. Affairs v. Burdine, 450 U.S. 248, 252-53 (1981). If the employer does so, the burden

shifts back to the plaintiff to show that the proffered reasons offered by the employer are mere

pretext for retaliation. Id.

        After engaging in protected activity, an employee is protected by Title VII from

retaliation when “the employee opposes not only employment actions actually unlawful under

Title VII but also employment actions [he] reasonably believes to be unlawful; the Title VII

violation may be complete, or it may be in progress.” Boyer-Liberto v. Fountainbleau Corp.,

786 F.3d 264, 282 (4th Cir. 2015) (citing E.E.O.C. v. Navy Fed. Credit Union, 424 F.3d 397,

405-06 (4th Cir. 2005) (employee seeking protection from retaliation must have an objectively



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reasonable belief in light of all the circumstances that a Title VII violation has happened or is in

progress); Peters v. Jenney, 327 F.3d 307, 320 (4th Cir.2003) (concluding, in reliance on

decisions under Title VII, that “to show protected activity, the plaintiff in a Title VII retaliation

case need only prove that he opposed an unlawful employment practice which he reasonably

believed had occurred or was occurring” (alterations and internal quotation marks omitted)). In

other words, an employee is protected from retaliation when he opposes a hostile work

environment that, although not fully formed, is in progress.

       Moreover, the Fourth Circuit has held that the “hope and expectation” is that employees

will report suspected Title VII violations early, before such suspected violations rise to the level

of a hostile work environment. Boyer-Liberto, 786 F.3d at 283 (4th Cir. 2015). Moreover, when

“the harasser is [his] supervisor and no tangible employment action has been taken, the victim is

compelled by the Ellerth/Faragher defense to make an internal complaint, i.e., “to take

advantage of any preventive or corrective opportunities provided by the employer.” See

Faragher v. City of Boca Raton, 524 U.S. 775, 807, 118 S.Ct. 2275, 2293 (1998). If an

employee reports such suspected discrimination, they are protected from retaliation under Title

VII. Boyer-Liberto, 786 F.3d at 285 (4th Cir. 2015).

       During her deposition, Coggins stated that “[i]t’s not appropriate for an employee to – for

a manager to discipline an employee for making an allegation” because such discipline would

violate the anti-retaliation of Ricoh’s EEO policy. Ex. 7, Coggins, Dep. Tr. 39:17 – 40:7.

Moreover, Coggins could not think of a single reason why it would have been appropriate for

Glancey to discipline Williams for requesting a meeting with HR to address perceived racial

discrimination. Ex. 7, Coggins, Dep. Tr. 41:5 – 43:14. Despite Coggins’s testimony that she

could not think of a reason why disciplining Williams for making a complaint of discrimination



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would ever be appropriate, Coggins confirmed that the June 20, 2013 Employee Counseling

Report issued by Glancey to Williams explicitly stated that Williams was being disciplined for

stating that Glancey treated Williams as a master would treat a slave. Ex. 7, Coggins, Dep. Tr.

44:14 – 46:5; Ex. 8, Ricoh_RW_000060-61.

       In addition to retaliating against Williams for making a complaint of discrimination,

Wilford instructed Williams to apologize to Glancey for sending the June 14, 2013 email, even

though Williams told Wilford that he wrote the email because he felt that Glancey was racist.

Ex. 2, Williams, Dep. Tr. 176:6 – 13; 185:18 – 186:13. Therefore Coggins, Williams’s

designated HR representative, Wilford, another HR representative, and Glancey, Williams’s

supervisor, retaliated against Williams for making a complaint of racial discrimination by

issuing, in writing, a warning to Williams which labeled his complaint of discrimination as a

“behavior/conduct” issue.

   3. Williams’s Protected Activity was the “Straw That Broke The Camel’s Back” And
      Resulted in Williams’s Termination

       Glancey stated that Williams’s June 14, 2013 email in which Williams requested a

meeting with HR to address reasonably perceived racial discrimination was “the straw that broke

the camel’s back,” and it prompted Glancey to start documenting Williams’s alleged

performance deficiencies in order to build a case for termination. Ex. 1, Glancey, Dep. Tr. 112:1

– 10. When questioned about Ricoh’s stated reasons for terminating Williams, Glancey testified

that Williams’s email was an “enough is enough moment with – with [Williams’s] behavior,”

and that Glancey disciplined Williams “for that reason. Yes.” Ex. 1, Glancey, Dep. Tr. 113:21 –

114:11. In Wheat v. Florida Parish Juvenile Justice Comm’n, 811 F.3d 702 (5th Cir. 2016),

affirmed in part and reversed in part), the Fifth Circuit held that the defendant’s more lenient

treatment of plaintiff for the same sort of offense before she exercised her FMLA and Title VII

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rights, compared to its harsh treatment of her afterwards, created a jury issue of causation.2

Similarly, its inconsistent treatment of other employees, sometimes harsh and sometimes not,

created a dispute of material fact. Id.

         On May 2, 2014, Glancey sent an email to Wilford and Campanella, stating “I would like

to discuss [Williams’s] problematic behaviors and consider him for termination,” as “[t]his has

been an ongoing problem with Robert, stretching back for years.” Ex. 13, Ricoh-RW_0000034

(emphasis added). However, Glancey testified that as of June 20, 2013, the date of the written

warning in response to Williams’s complaint of discrimination, that Glancey wanted a written

documentary record to justify terminating Williams. Ex. 1, Glancey, Dep. Tr. 116:12 - 19. As a

result of the actions taken by Glancey, Coggins, and Wilford against Williams in response to

Williams’s June 14, 2013 complaint of racial discrimination, Ricoh effectively admitted liability

for retaliating against Williams in violation of Title VII.

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    Specifically, the Wheat Court noted:

         After providing its revised explanation, the Commission did not make any reference,
         corrective or otherwise, to its original non-retaliatory explanation for discharging Wheat
         (“[n]o JDS officer [ ] ever physically attacked a youth ... [or was] allowed to remain in
         the Commission's employ after any such attack”).3 In other words, the grounds for
         Wheat’s discharge related solely to the incidents of January 3, 2012, immediately
         preceding her discharge. In this light, the Commission offers no evidence or argument to
         distinguish this different treatment of Wheat before and after exercising her protected
         rights.4 Therefore, the Commission’s inconsistent treatment of Wheat raises disputed
         issues of material fact as to whether: but for exercising her rights she would have been
         discharged.

                 n. 3 On appeal, for the first time, the Commission “agree[d] that to the extent Ms.
                 Wheat's prior use of excessive force shows that her conduct was not
                 unprecedented, the Commission stood corrected.” Appellee Brief, at 34.

                 n. 4 Although the Commission has consistently described the 2005 incident in its
                 briefing before the district court, and this Court, it has never attempted to address
                 or explain why it treated Wheat differently in 2005, than it did in 2012.

Wheat, 811 F.3d at 710-11.

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    VI.      Conclusion

          For the foregoing reasons, Defendant’s Motion for Summary Judgment as to ADA

Retaliation, ADA Interference, FMLA Interference, and FMLA Retaliation should be denied.

                                                Plaintiff Robert Williams,

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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 7th day of July, 2016, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, which sent an electronic

notification of such filing to all parties of record. I further certify that a true copy of the filing

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